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                         UNITED STATES DISTRICT COURT
                            DISTRICT OF MINNESOTA


United States of America,                               Case No. 19-cr-0114 (WMW/BRT)

                             Plaintiff,
                                                                 ORDER
        v.

Deandre Dontal McGowan,

                             Defendant.


       This matter is before the Court on Defendant Deandre Dontal McGowan’s motion

for a judicial recommendation to the Federal Bureau of Prisons (BOP). (Dkt. 87.) For the

reasons addressed below, McGowan’s motion is denied.

       McGowan previously pleaded guilty to bank robbery, in violation of 18 U.S.C.

§ 2113(a), and this Court sentenced McGowan to 84 months’ imprisonment in December

2019. McGowan currently is incarcerated at the Federal Correctional Institution in Oxford,

Wisconsin (FCI Oxford), and his projected release date is August 13, 2024. McGowan

previously moved for a sentence reduction, which the Court construed as a motion to be

placed on home confinement. The Court denied that motion in April 2020. McGowan

now seeks a court order recommending that the BOP permit McGowan to serve the last 12

months of his sentence in a halfway house, residential reentry center and/or home

confinement. McGowan contends that such a recommendation is warranted “so that he

can reestablish himself by obtaining gainful employment and saving enough money to

secure housing, clothing, transportation, food and basic necessities.”
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       The BOP possesses discretionary authority to designate a location for federal

confinement. See 18 U.S.C. § 3621(b); Elwell v. Fisher, 716 F.3d 477, 483–84 (8th Cir.

2013) (citing Setser v. United States, 566 U.S. 231, 239 (2012)). When deciding what

facility to designate as the place of imprisonment for a federal sentence, the BOP may

consider multiple factors, including the sentencing court’s intent. Elwell, 716 F.3d at 486;

accord 18 U.S.C. § 3621(b) (providing that BOP may consider “any statement by the court

that imposed the sentence . . . concerning the purposes for which the sentence to

imprisonment was determined to be warranted; or . . . recommending a type of penal or

correctional facility as appropriate”). When imposing McGowan’s sentence in December

2019, the Court recommended to the BOP that McGowan be incarcerated at a facility in or

near Minnesota, but the Court did not otherwise provide a recommendation as to the

location or type of correctional facility.

       Although this Court lacks authority to retroactively modify McGowan’s sentence, a

sentencing court is authorized to make non-binding recommendations to the BOP. See,

e.g., United States v. Walker, 917 F.3d 989, 990 (7th Cir. 2019) (observing that a district

court has “discretion to make a recommendation to the BOP as to whether pretrial credit is

appropriate”); accord United States v. Elmardoudi, 501 F.3d 935, 940 (8th Cir. 2007)

(observing that the sentencing decision included a “recommendation that [BOP] should

credit” the defendant for time spent in pretrial detention). Indeed, a sentencing court has

express statutory authority to “recommend[ ] a type of penal or correctional facility as

appropriate.” 18 U.S.C. § 3621(b)(4)(B). Although such recommendations typically occur

at the time of sentencing, a court may—but is not required to—issue non-binding


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recommendations to the BOP after the defendant has begun serving a sentence. See, e.g.,

United States v. Pineyro, 112 F.3d 43, 45 (2d Cir. 1997) (concluding that, after a sentence

has been imposed, a district court’s authority is limited to making a “non-binding

recommendation” to BOP); United States v. Rovetuso, 840 F.2d 363, 367 (7th Cir. 1987)

(suggesting that a district court may issue a “clarifying order” as to sentencing intent if the

order does not substantively modify a previously imposed sentence); Rickman v. Maye,

196 F. Supp. 3d 1197, 1199 (D. Kan. 2016) (explaining that, after “BOP sought guidance

from the federal sentencing court to determine whether it was the federal court’s intent that

the state and federal sentence[s] would run concurrently,” the sentencing court issued a

recommendation to BOP). As such, this Court may, but is not required to, provide a non-

binding recommendation to the BOP as to the location of McGowan’s confinement.

       In his motion, McGowan emphasizes his desire to become a productive member of

society and a better husband, father and son to his family. McGowan details his efforts to

maintain sobriety and prepare himself to provide a stable home, including his participation

in and completion of numerous BOP programs. In particular, McGowan relies on BOP

records and numerous certificates of completion demonstrating that he has completed

courses pertaining to spirituality, drug abuse education, health and wellness, employment

skills, victim awareness and restitution, cognitive behavioral therapy and money

management skills, among other topics. The Court commends McGowan for these

accomplishments and efforts at self-improvement. The date of McGowan’s requested

placement in a halfway house, residential reentry center or home confinement is many

months from now, however.          Future changes to the circumstances of McGowan’s


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confinement could render such a placement recommendation inappropriate. Moreover, the

BOP is in a better position to make placement determinations than the Court, as the Court

is further removed from the circumstances of McGowan’s confinement. Accordingly, the

Court declines to make a placement recommendation at this time.

                                        ORDER

      Based on the foregoing analysis and all the files, records and proceedings herein, IT

IS HEREBY ORDERED that Defendant Deandre Dontal McGowan’s motion for a

judicial recommendation to the Federal Bureau of Prisons, (Dkt. 87), is DENIED.



Dated: December 2, 2022.                               s/Wilhelmina M. Wright
                                                       Wilhelmina M. Wright
                                                       United States District Judge




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